Case 1:19-cv-20502-JEM Document 37 Entered on FLSD Docket 02/06/2019 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                    :
                                                    :
    In re OPKO HEALTH, INC. SECURITIES              :        Civil Action No. 18-13834 (SRC)
    LITIGATION,                                     :
                                                    :
                                                    :                    ORDER
                                                    :

  CHESLER, District Judge

         This matter having come before the Court upon various motions for appointment as lead

  plaintiff in this putative class action; and certain motions having been withdrawn; and the

  movants that had filed the remaining motions having not opposed the appointment of the Amitim

  Funds as Lead Plaintiff; and the Court having granted the motion filed by the Amitim Funds and

  appointed the Amitim Funds as Lead Plaintiff by Order dated February 4, 2019 (ECF 36);

  therefore

         IT IS on this 5th day of February, 2019,

         ORDERED that the motions for appointment as lead plaintiff docketed at ECF 11, 13,

  14, 16, and 17 be and hereby are DISMISSED.



                                                          s/Stanley R. Chesler
                                                        STANLEY R. CHESLER
                                                        United States District Judge
